Case 1:16-cv-01266-TWP-DML Document 107 Filed 12/14/17 Page 1 of 3 PageID #: 726



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
                                                                 Acknowledged
  “JOHN DOE,”                             )                            TWP
                                          )                       December 14, 2017
                  Plaintiff,              )
                                          )
             v.                           )              1:16-cv-01266-TWP-DML
                                          )
  BUTLER UNIVERSITY,                      )
  JAMES M. DANKO,                         )
  LEVESTER JOHNSON,                       )
  STACIE COLSON PATTERSON,                )
  ANNE FLAHERTY,                          )
  SALLY CLICK,                            )
  ERIN McCLUNEY,                          )
  ROBERT PADGETT,                         )
  MARTHA DWIZLIK, and                     )
  “JANE SMITH,”                           )
                                          )
                  Defendants.             )
  ________________________________ )
                                          )
  UNITRIN PREFERRED INSURANCE             )
  COMPANY,                                )
                                          )
                  Intevening Plaintiff,   )
                                          )
             v.                           )
                                          )
  “JOHN DOE,” “JANE SMITH,” and           )
  PRIVILEGE UNDERWRITERS, INC.,           )
                                          )
                  Intervening Defendants. )

     STIPULATION OF MUTUAL DISMISSAL OF JOHN DOE’S
    COMPLAINT AGAINST JANE SMITH AND OF JANE SMITH’S
            COUNTERCLAIM AGAINST JOHN DOE
       Under Rule 41(a)(1)(A)(ii), all parties who have appeared in this action hereby

  stipulate to the dismissal, with prejudice, of the following: (1) all of John Doe’s claims

  against Jane Smith pleaded in John Doe’s Amended Complaint (Filing No. 13), and (2) all

  of Jane Smith’s claims against John Doe pleaded in Jane Smith’s Amended Answer to
Case 1:16-cv-01266-TWP-DML Document 107 Filed 12/14/17 Page 2 of 3 PageID #: 727



  John Doe’s Amended Complaint and Counterclaim Against John Doe (Filing No. 51). The

  parties do not, by this stipulation, dismiss any other claims currently pending in the

  action.

       SO STIPULATED:

  s/Andrew M. Kassier (w/ consent)                s/Christopher A. Wadley
  Andrew M. Kassier                               Christopher A. Wadley
  ANDREW M. KASSIER, P.A.                         WALKER WILCOX MATOUSEK LLP
  4500 LeJeune Rd.                                One N. Franklin St., Ste. 3200
  Coral Gables, FL 33146                          Chicago, IL 60606
  Telephone: (305) 662-1000                       Telephone: (312) 244-6717
  Email: kassiera@aol.com                         Email: cwadley@wwmlawyers.com

  Attorney for John Doe                           Attorney for “Jane Smith”


  s/Melissa K. Taft (w/consent)                   s/Scott B. Cockrum (w/ consent)
  Melissa K. Taft                                 Scott B. Cockrum
  JACKSON LEWIS, P.C.                             HINSHAW & CULBERTSON LLP
  10 W. Market St., Ste. 2400                     322 Indianapolis Blvd., Ste. 201
  Indianapolis, IN 46204                          Schererville, IN 46375
  Telephone: (317) 489-6930                       Telephone: (219) 864-5051
  Email: Melissa.Taft@jacksonlewis.com            Email: scockrum@hinshawlaw.com

  Attorney for Butler University, James M.        Attorney for Unitrin Preferred
  Danko, Levester Johnson, Stacie Colson          Insurance Company
  Patterson, Anne Flaherty, Sally Click,
  Erin McCluney, Robert Padgett, and
  Martha Dwizlik


  s/Mark C. Engling (w/ consent)
  Marc C. Engling
  FREUND, FREEZE & ARNOLD
  1 S. Main St., Ste. 1800
  Dayton, OH 45402
  Telephone: (937) 913-0158
  Email: mengling@ffalaw.com

  Attorney for Privilege Underwriters, Inc.




                                              2
Case 1:16-cv-01266-TWP-DML Document 107 Filed 12/14/17 Page 3 of 3 PageID #: 728



                                CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2017, a copy of the foregoing was filed

  electronically. Service of this filing will be made on ECF-registered counsel by operation

  of the Court’s electronic filing system. Parties may access this filing through the Court’s

  system.

                                           Respectfully submitted,

                                           s/Christopher A. Wadley
                                           Christopher A. Wadley
                                           WALKER WILCOX MATOUSEK LLP
                                           One N. Franklin St., Ste. 3200
                                           Chicago, IL 60606
                                           Telephone: (312) 244-6717
                                           Email: cwadley@wwmlawyers.com

                                           Attorney for Jane Smith




                                              3
